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     ATTACHMENT 4
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                            UNITED STATES SENTENCING COMMiSSION
                                  ONE COLUMBUS            NE
                                   SUITE 2-500, SOUTH LOBBY
                                  WASHINGTON, DC 20002-8002
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                                              September 15, 2015

To all recipients of the Guidelines Manual:

        As Chair of the United States Sentencing Commission, I am pleased to transmit this
edition of the Guidelines Manual, which incorporates new guidelines and amendments effective
November 1, 2015. This edition of the Guidelines Manual reflects recent actions of the
Commission, including among other things the following:

•      Changes to the Fraud Guideline Involving Victims and Individual Culpability
             The Commission revised the victim enhancement in §2B 1.1 to incorporate
             substantial financial hardship to victims as a sentencing factor, placing greater
             emphasis on the extent of harm and ensuring that the defendant will receive a
             higher sentence when even one victim suffered a substantial financial harm
             The Commission made changes to the sophisticated means enhancement and the
             definition of"intended loss" to focus more specifically on the defendant's
             individual culpability

       Adjustment to Monetary Tables to Account for Inflation
             The Commission made changes to the monetary tables in §§2Bl.l, 2B2.1, 2B3.1,
             2Rl.l, 2T4.1, 5El.2, and 8C2.4 to account for inflation

"      New Marihuana Equivalency for Hydrocodone Based on Weight Alone
         > The Commission raised penalties on hydrocodone offenses to address the
            rescheduling of hydrocodone from less-restricted Schedule III to the more-
            restricted Schedule II
            The Commission determined that hydrocodone penalties should be based not on
            the weight of the pills involved but on the weight of the hydrocodone alone, and
            adopted a marihuana equivalency for "hydrocodone (actual)" that is the same as
            the existing equivalency for oxycodone (actual)

       Additional Guidance for the Application of the Mitigating Role Adjustment
              The Commission identified certain issues in §3Bl.2 that may have been
              discouraging courts from applying a mitigating role adjustment and provided
              additional guidance in determining whether an adjustment applies
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                                  2014 18 USCS Appx § 2B1.1
                                   2014 United States Code Archive

UNITED STATES CODE SERVICE > TITLE 18. CRIMES AND CRIMINAL PROCEDURE
 > SENTENCING GUIDELINES FOR THE UNITED STATES COURTS. 18 USCS APPENDIX
 > CHAPTER TWO. OFFENSE CONDUCT > PART B. BASIC ECONOMIC OFFENSES > 1.
THEFT, EMBEZZLEMENT, RECEIPT OF STOLEN PROPERTY, PROPERTY DESTRUCTION, AND
OFFENSES INVOLVING FRAUD OR DECEIT

§ 2B1.1. Larceny, Embezzlement, and Other Forms of Theft; Offenses
Involving Stolen Property; Property Damage or Destruction; Fraud and
Deceit; Forgery; Offenses Involving Altered or Counterfeit Instruments
Other than Counterfeit Bearer Obligations of the United States
 (a) Base Offense Level:
    (1) 7, if (A) the defendant was convicted of an offense referenced to this guideline; and
        (B) that offense of conviction has a statutory maximum term of imprisonment of 20
        years or more; or
    (2) 6, otherwise.
 (b) Specific Offense Characteristics
    (1) If the loss exceeded $ 5,000, increase the offense level as follows:

    -------------------------------------------------------------------

    Loss (Apply the Greatest)                          Increase in Level
    -------------------------------------------------------------------

      (A) $ 5,000 or less ..........................… No increase
      (B) More than $ 5,000 ........................… add 2
      (C) More than $ 10,000 .......................… add 4
      (D) More than $ 30,000 .......................… add 6
      (E) More than $ 70,000 .......................… add 8
      (F) More than $ 120,000 ......................… add 10
      (G) More than $ 200,000 ......................… add 12
      (H) More than $ 400,000 ......................… add 14
      (I) More than $ 1,000,000 ....................… add 16
      (J) More than $ 2,500,000 ....................… add 18
      (K) More than $ 7,000,000 ....................… add 20
      (L) More than $ 20,000,000 ...................… add 22
      (M) More than $ 50,000,000 ...................… add 24
      (N) More than $ 100,000,000 ..................… add 26
      (O) More than $ 200,000,000 ..................… add 28
      (P) More than $ 400,000,000 ..................… add 30.
